                                     U.S. Department of Justice


                                     United States Attorney
                                     Eastern District ofNew York
MM:TK                                271 Cadman Plaza East
F.#1998R01996                        Brooklyn, New York 11201


                                     July 16, 2009

The Honorable I. Leo Glasser
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201


          Re:   United States v. Felix Sater
                Criminal Docket No. 98 CR 1101 {ILG)

Dear Judge Glasser:

          The defendant in the above-captioned case is scheduled
to be sentenced before the Court on September 18, 2009. The
government respectfully requests that the Court imseal the
documents referred to in docket entries 5-8, 11, 13 and 16-17 on
file with the Court under the above caption, for the limited
purpose of providing copies to the government and defense so that
the parties may make appropriate arguments at sentencing based on
the factual record.   An order requesting the same is attached.    I
have spoken with defense counsel who join in this application.


                                     Respectfully submitted,

                                     BENTON J. CAMPBELL
                                     United States Attorney


                               By;
                                     Todd Kc
                                     Assis£ant U. S. Attorney
                                     (718)254-6367



cc:   U.S. Probation Officer Michelle Espinoza
      Leslie R. Caldwell, Esq.; Kelly A. Moore, Esq.
